The Honorable David Gibbons Prosecuting Attorney Fifth Judicial District Post Office Box 3080 Russellville, AR 72811
Dear Mr. Gibbons:
You have requested my opinion on several questions concerning recent events surrounding the 2004 levy of ad valorem taxes by the City of Russellville.
I am unable to respond to your questions at this time in light of this office's long-standing policy against the issuance of opinions on questions that are the subject of pending litigation. It has come to my attention that the issues you have raised are currently the subject of litigation in the case City of Russellville Police Pension  RetirementBoard v. Gibson, et al. (Pope County Circuit Court (Div. 1), No. CIV 2005-55).
In recognition of the judiciary's independent constitutional role, it has long been the policy of the Attorney General, as an officer in the executive branch of government, to refrain from rendering opinions on matters that are pending before the courts for determination. See, e.g.,
Op. Att'y Gen. Nos. 2003-311; 2003-182; 2003-032; 2002-302; 99-389; 97-329; 97-105. Any opinion issued by my office would constitute executive comment on matters that are properly before the judicial branch. I am thus unable at this time to render an opinion in response to your questions. The issues you have raised are properly before the judicial branch to be resolved in that forum. If you wish to seek an opinion after a ruling is obtained in the pending case, I will be pleased to respond in as timely a manner as possible.
Sincerely,
MIKE BEEBE Attorney General
MB:EAW/cyh